Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 1 of 18 Page ID #:1977



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13
14                         UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16
     JEAN-JACQUES PERREY, et al., ) Case No. CV09-6508 JHN (RZx)
17
              Plaintiffs,            )
                                       DEFENDANTS UNIVISION
18                                   )
         vs.                           COMMUNICATIONS INC.,
                                     )
19                                     GALAVISION INC., XENON PICTURES,
     TELEVISA, S.A. DE C.V., et al., ) INC. AND LIONSGATE,
20                                   )
               Defendants.             ENTERTAINMENT, INC.’S NOTICE OF
                                     )
21                                     MOTION AND MOTION TO DISMISS
                                     )
                                       OR, IN THE ALTERNATIVE, TO JOIN
22                                   )
                                       UNIVERSAL POLYGRAM
23                                   )
                                       INTERNATIONAL PUBLISHING, INC.,
                                     )
                                       PURSUANT TO FEDERAL RULES OF
24                                   )
                                       CIVIL PROCEDURE 12(B)(7) AND 19
25                                   )
                                     ) TIME: 2:00 P.M.
26                                   ) DATE: MAY 24, 2010
                                       PLACE: COURTROOM 790
27                                   )

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                                              DEFENDANTS’ NOTICE OF MOTION AND
                                   MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM
                                                                    Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 2 of 18 Page ID #:1978


 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE THAT on May 24, 2010 at 2:00 p.m. before the
 3   Honorable Jacqueline H. Nguyen, in Courtroom 790 of the United States District
 4   Court for the Central District of California, located at 255 East Temple Street, Los
 5   Angeles, California, 90012, Defendants Univision Communications Inc., Galavision
 6   Inc., Xenon Pictures, Inc. and LionsGate Entertainment, Inc. (collectively
 7   “Defendants”) will and hereby do move pursuant to Federal Rules of Civil Procedure
 8   12(b)(7) and 19 to dismiss the First Amended Complaint filed by Plaintiffs Jean-
 9   Jacques Perrey, Gershon Kingsley, Robert Breuer, Anthony Breuer, Frances Breuer,
10   and Sylvain Meunier (collectively “Plaintiffs”) on the grounds that Plaintiffs have
11   failed to join an indispensable party under Rule 19, namely, Universal Polygram
12   International Publishing, Inc. (“Universal Polygram”).
13           Alternatively, if the Court does not dismiss this action, Defendants will and
14   hereby do move, pursuant to Federal Rules of Civil Procedure 19, to join Universal
15   Polygram because:
16          (i) Universal Polygram claims an interest relating to the subject of this action
17   and is so situated that disposing of the action in Universal Polygram’s absence may
18   leave Plaintiffs and Defendants subject to a substantial risk of incurring double,
19   multiple, or otherwise inconsistent obligations because of the interest. Fed. R. Civ.
20   Proc. 19; see also 17 U.S.C. § 501(b) (“The court may require the joinder . . . of any
21   person having or claiming an interest in the copyright.”); and
22          (ii) Universal Polygram claims an interest relating to the subject of this action
23   and is so situated that disposing of the action in Universal Polygram’s absence may, as
24   a practical matter, impair or impede Universal Polygram’s ability to protect that
25   interest.
26          This Motion is based upon this Notice of Motion and Motion, the
27   accompanying Memorandum of Points and Authorities, the Declaration of Dylan
28   Ruga filed concurrently herewith and all exhibits attached thereto, upon all pleadings

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                                                 DEFENDANTS’ NOTICE OF MOTION AND
                                      MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM
                                                                             Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 3 of 18 Page ID #:1979

 1   and other documents on file with this Court, as well as such evidence that the court
 2   may properly consider on this motion, and such evidence and argument as may be
 3   presented at the time of hearing.
 4         This motion is made following the conference of counsel pursuant to Local
 5   Rule 7-3 which took place on several dates, including but not limited to April 6, 2010.
 6
     Dated: April 19, 2010                     STEPTOE & JOHNSON LLP
 7                                             Seong Kim
 8                                             Dylan Ruga

 9
10
                                               By: /s/ Dylan Ruga
11                                                 Dylan Ruga
12                                                 Attorneys for Defendants
                                                   Univision Communications Inc.
13                                                 and Galavision Inc.
14
15
16
     Dated: April 19, 2010                     SIDLEY AUSTIN LLP
17                                             Stephen G. Contopulos
18                                             Carly S. Steinbaum

19
20
                                               By: /s/ Carly S. Steinbaum
21                                                  Carly S. Steinbaum
22                                                  Attorneys for Defendants
                                                    Xenon Pictures, Inc.
23                                                  and LionsGate Entertainment, Inc.
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                                                DEFENDANTS’ NOTICE OF MOTION AND
                                     MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                           Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 4 of 18 Page ID #:1980


 1                                       TABLE OF CONTENTS
 2
     I.     INTRODUCTION ...............................................................................................1
 3
     II.    STATEMENT OF FACTS ..................................................................................2
 4
            A.       The Compositions Were Created in the 1960s Pursuant
 5
                     to Two Contracts .......................................................................................2
 6
            B.       Plaintiffs Have Claimed To Be the Beneficial Owner
 7                   of the Copyrights, and, Later, to be the Legal and Beneficial
 8                   Owner of the Copyrights, Thus Impacting Universal
                     Polygram’s Rights and Subjecting Defendants To
 9                   Duplicative Litigation. ..............................................................................4
10
     III.   ANALYSIS .........................................................................................................6
11
            A.       Universal Polygram Claims Legal Ownership of the
12                   Copyrights at Issue, and Disposing of This Action in
13                   Universal Polygram’s Absence May Subject Both
                     Defendants and Plaintiffs to Double, Multiple, or
14                   Otherwise Inconsistent Liabilities. ............................................................8
15
            B.       Universal Polygram Claims Legal Ownership of the
16                   Copyrights at Issue; Disposing of This Action in Universal
17                   Polygram’s Absence Will Impair or Impede Universal Polygram’s
                     Ability to Protect Its Interests. ..................................................................9
18
     IV.    CONCLUSION .................................................................................................12
19
20
21
22
23
24
25
26
27
28

                                                                i
                                                           DEFENDANTS’ NOTICE OF MOTION AND
                                                MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM
                                                                                                      Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 5 of 18 Page ID #:1981

 1                                          TABLE OF AUTHORITIES
 2                                                                                                             Page(s)
     CASES
 3
     Aguilar v. Los Angeles County,
 4
       751 F.2d 1089 (9th Cir. 1985) ..............................................................................9
 5
     Ass’n of Irritated Residents v. C & R Vanderham Dairy,
 6      2006 WL 2644896 (E.D. Cal. Sept. 14, 2006) .....................................................7
 7
     Clemmer v. Hartford Ins. Co.,
 8      22 Cal. 3d 865 (1978) .........................................................................................10
 9   Criswell v. Western Airlines, Inc.,
10      709 F.2d 544 (9th Cir. 1983) ................................................................................1
11   Cunningham v. Municipality of Metro. Seattle,
       751 F. Supp. 885 (W.D. Wa. 1990)......................................................................7
12
13   DeTarr v. Texaco, Inc.,
       267 Cal. App. 2d 872 (1968) ..............................................................................11
14
     E.E.O.C. v. Peabody Western Coal Co.,
15
        400 F.3d 774 (9th Cir. 2005) ..............................................................................10
16
     Hasbro Bradley, Inc. v. Sparkle Toys, Inc.,
17     780 F.2d 189 (2d Cir. 1985) ...............................................................................11
18
     HS Resources, Inc. v. Wingate,
19     327 F.3d 432 (5th Cir. 2003) ................................................................................6
20   Huey v. Super Fresh/Save-A-Center, Inc.,
21     2009 WL 722738 (E.D. La. March 17, 2009) ......................................................6
22   Jones v. Craig,
23      212 F.2d 187 (2nd Cir. 1954) .............................................................................10

24   Levy v. Cohen,
        19 Cal. 3d 165 (1977) ...........................................................................................9
25
26   Shermoen v. U.S.,
        982 F.2d 1312 (9th Cir. 1992) ..............................................................................8
27
     T.B. v. Chico Unified School Dist.,
28      2008 WL 5382060 (E.D. Cal. Dec. 22, 2008)......................................................7
                                            ii
                                                            DEFENDANTS’ NOTICE OF MOTION AND
                                                 MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                                                      Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 6 of 18 Page ID #:1982

 1   Thomas v. U.S.,
 2     189 F.3d 662 (7th Cir. 1999) ................................................................................8

 3   Wales Industrial Inc. v. Hasbro Bradley, Inc.,
       612 F. Supp. 510 (S.D.N.Y. 1985) .................................................................9, 11
 4
 5   STATUTES

 6   17 U.S.C. § 501(b) ...............................................................................................6, 11
 7   RULES
 8
     FRCP 12.....................................................................................................................7
 9
     FRCP 12(b)(1) ..........................................................................................................6
10
     FRCP 12(b)(2)-(5) .................................................................................................6, 7
11
12   FRCP 12(b)(6) ...........................................................................................................6
13   FRCP 12(b)(7) ................................................................................................... 2, 6-7
14   FRCP 12(g) ................................................................................................................7
15
     FRCP 12(g)(2) ...........................................................................................................7
16
     FRCP 12(h) ................................................................................................................7
17
     FRCP 12(h)(1) .......................................................................................................6, 7
18
19   FRCP 12(h)(2) ...........................................................................................................7
20   FRCP 19........................................................................................................... Passim
21   FRCP 19(a) ................................................................................................................7
22
     BOOKS AND ARTICLES
23
     3 Nimmer on Copyrights § 12.02[C].......................................................................11
24
25   Cal. Prac. Guide: Fed. Civ. Pro. Before Trial ¶9:158................................................6

26   Cal. Prac. Guide: Fed. Civ. Pro. Before Trial ¶9:159................................................8
27   Restatement (Second) of Trusts § 327.....................................................................11
28
                                                                    iii
                                                               DEFENDANTS’ NOTICE OF MOTION AND
                                                    MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                                                            Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 7 of 18 Page ID #:1983


 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         This case is an attempt by several musicians and their heirs to seek damages for
 4   the alleged use of their copyrights. Specifically, Plaintiffs have asserted claims for
 5   copyright infringement, breach of contract and “violation of moral rights” under
 6   Mexican law as a result of the alleged use of three musical compositions, “Baroque
 7   Hoedown,” “An Elephant Never Forgets,” and “Country Rock Polka” (collectively,
 8   the “Compositions”), in three Spanish language television series.
 9         Plaintiffs allege in the First Amended Complaint that are “either the beneficial
10   owners or the legal owners of the copyrights at issue herein.” Plaintiffs, however,
11   have failed to join as a party Universal Polygram, which also claims to be the sole
12   legal owner of the copyrights at issue. Through the instant motion, Defendants assert
13   that Universal Polygram must be made a party under Rule 19 of the Federal Rules of
14   Civil Procedure.
15         As the Ninth Circuit has explained, Rule 19 “is intended to protect the absentee
16   party from prejudice, to protect those made parties from harassment by successive
17   suits, and to protect the courts from being imposed upon by multiple litigation.”
18   Criswell v. Western Airlines, Inc., 709 F.2d 544, 557 (9th Cir. 1983). These concerns
19   are particularly apt here, given that Plaintiffs and Universal Polygram both claim to
20   be the sole legal owners of the copyrights at issue. Indeed, Universal Polygram
21   should be included in this lawsuit for two reasons:
22         First, unless Universal Polygram is joined as a party, Defendants will be
23   subject to multiple lawsuits by entities claiming legal ownership – first by Plaintiffs,
24   and next by Universal Polygram – with respect to alleged copyright infringement.
25   Without joinder, Defendants could then be subject to two inconsistent judgments –
26   one establishing that Plaintiffs are legal owners of the copyrights, and one establishing
27   that Universal Polygram is the legal owner. In that event, Defendants could be liable
28   to pay 100% of the profits earned by virtue of alleged infringement to both Plaintiffs

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                                                 DEFENDANTS’ NOTICE OF MOTION AND
                                      MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM
                                                                             Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 8 of 18 Page ID #:1984

 1   and Universal Polygram. While Defendants dispute any infringement occurred, the
 2   fact is that Defendants should not have be potentially subjected to inconsistent
 3   judgments, nor should Defendants have to endure the time, expense, and burden of
 4   conducting this same fight in different lawsuits.
 5         Second, Universal Polygram will be prejudiced in its ability to claim legal
 6   ownership of the copyrights at issue unless it is joined as a party in this action.
 7   Although Plaintiffs previously conceded that Universal Polygram was the legal owner
 8   of the copyrights at issue, Plaintiffs have flip-flopped and now claim full ownership.
 9   The resolution of this issue depends on the interpretation of two contracts executed in
10   the 1960’s. Plaintiffs contend that the agreements were never properly executed; if
11   correct, this could result in a judicial determination that Universal Polygram does not
12   have any interest in the copyrights at issue. Universal Polygram then may be
13   collaterally estopped from challenging this determination in a subsequent action. In
14   short, Universal Polygram must be a party in this action so it may protect its rights as
15   the purported legal owner of the copyrights at issue.
16         Given Plaintiffs’ failure to join Universal Polygram, this action should be
17   dismissed pursuant to FRCP 12(b)(7) because the First Amended Complaint fails to
18   join a party whose presence is needed for a just adjudication under FRCP 19. In the
19   event that the Court finds that Universal Polygram is subject to service of summons
20   and that its joinder would not deprive the Court of subject matter jurisdiction,
21   Plaintiffs request that the Court treat this motion as one to compel joinder of Universal
22   Polygram, and to order such joinder.
23   II.   STATEMENT OF FACTS
24         A.     The Compositions Were Created in the 1960s Pursuant to Two
25                Contracts
26         According to the First Amended Complaint (“FAC”), Plaintiffs are the
27   composers (or their heirs) of three musical compositions that were created in the
28
                                                  2
                                                 DEFENDANTS’ NOTICE OF MOTION AND
                                      MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                              Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 9 of 18 Page ID #:1985

 1   1960s. FAC, ¶¶ 17-19.1 Specifically, plaintiffs Jean-Jacques Perrey and Gershon
 2   Kingsley are alleged to have “created and composed the original musical composition
 3   ‘Baroque Hoedown,’” (FAC, ¶ 17), plaintiff Jean-Jacques Perrey and the late Harry
 4   Breuer are alleged to have “created and composed the original musical composition
 5   ‘An Elephant Never Forgets,’” (FAC, ¶ 18), and plaintiff Jean-Jacques Perrey, the late
 6   Harry Breuer, and the late Fernand Bouillon are alleged to have “created and
 7   composed the original musical composition ‘Country Rock Polka.’” FAC, ¶ 19.
 8   Plaintiffs Robert Breuer, Anthony Breuer, and Frances Breuer are alleged to be heirs
 9   of the late Harry Breuer, and Sylvain Meunier is alleged to be the heir of the late
10   Fernand Bouillon. FAC, ¶ 21.
11           The Compositions were created under the following two contracts that Perrey
12   and Kingsley signed with Vanguard:
13           (1) a contract dated March 1, 1966 between Vanguard Recording Society, Inc.,
14   on the one hand, and plaintiffs Jean-Jacques Perrey and Gershon Kingsley, on the
15   other (the “1966 Agreement”); and
16           (2) a contract dated March 22, 1968 between Vanguard Recording Society, on
17   the one hand, and plaintiff Jean-Jacques Perrey, on the other (the “1968 Agreement”)
18   (collectively “Agreements”).
19   True and correct copies of the 1966 Agreement and the 1968 Agreement are attached
20   as Exhibits 1 and 2, respectively, to the Declaration of Dylan Ruga (“Ruga Decl.”)
21   filed herewith.
22           Both of the Agreements reference an attached “Exhibit A.” (Ruga Decl., Ex. 1
23   at ¶ 13; Ex. 2 at ¶ 22.) The 1966 Agreement states that Perrey and Kingsley “shall
24   simultaneously, upon recording such musical composition, execute a song writers
25   agreement as is set forth in Exhibit ‘A’ attached hereto and made a part hereof.”
26   (Ruga Decl., Ex 1 at ¶ 13.) The 1968 Agreement contains nearly identical language
27
     1
28       The First Amended Complaint is available at Docket No. 55.
                                                 3
                                                 DEFENDANTS’ NOTICE OF MOTION AND
                                      MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                            Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 10 of 18 Page ID #:1986

  1   but clarifies that Perrey’s “failure to sign said songwriter’s agreement shall not divest
  2   us [Vanguard’s publishing affiliate] with any ownership in and to the world-wide
  3   copyright.” (Ruga Decl., Ex. 2 at ¶ 22.)
  4         Despite the clear and unambiguous language in the Agreements, as well as the
  5   parties’ intent (as evidenced by their conduct over the past 40 years), Plaintiffs
  6   contend that the composition copyrights could not have been transferred from
  7   Plaintiffs to Vanguard’s publishing affiliate (and consequently, never transferred to
  8   Universal Polygram) unless Exhibit A was signed. Ruga Decl., ¶ 4. Universal
  9   Polygram contends, however, that Exhibit A was signed but, in any event, it is
10    immaterial because it is undisputed that the Plaintiffs intended to transfer their
11    copyrights to Vanguard’s publishing affiliate and have acted consistently with that
12    intent for the past 40 years. Ruga Decl., ¶ 5. This dispute can be resolved only by a
13    judicial interpretation of the Agreements.
14          B.     Plaintiffs Have Claimed To Be the Beneficial Owner of the
15                 Copyrights, and, Later, to be the Legal and Beneficial Owner of the
16                 Copyrights, Thus Impacting Universal Polygram’s Rights and
17                 Subjecting Defendants To Duplicative Litigation.
18          Plaintiffs brought suit on September 8, 2009, seeking recovery for copyright
19    infringement, breach of contract, and “violation of moral rights” under Mexican law.
20    In their original Complaint, Plaintiffs insisted that they were the beneficial owners of
21    the copyrights at issue, and admitted that Universal Polygram was the legal owner.
22    Docket No. 1 at ¶ 23.
23          Plaintiffs’ tune has changed, however, and they now claim to be the beneficial
24    and/or legal owners of the copyrights at issue. FAC, ¶ 25. The following timeline
25    illustrates Plaintiffs’ evolving positions:
26                October 20, 2006: Plaintiff Jean-Jacques Perrey signs a document
27          ratifying and confirming: (1) the transfer of his interests in the composition
28          copyrights to Vanguard’s publishing affiliate in 1966 and 1968; and (2) that
                                                    4
                                                   DEFENDANTS’ NOTICE OF MOTION AND
                                        MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                              Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 11 of 18 Page ID #:1987

  1        Universal Polygram is the successor in interest to Vanguard’s publishing
  2        affiliate with respect to the composition copyrights. Ruga Decl., ¶ 6 & Ex. 3.
  3               September 8, 2009: Plaintiffs file their original complaint and allege that
  4        they only own the beneficial rights in the copyrights at issue. Docket No. 1 at
  5        ¶ 23;
  6               Mid-October 2009: Plaintiffs receive documents that purportedly caused
  7        Plaintiffs to believe that they own the legal rights in the copyrights at issue.
  8        Ruga Decl., Ex. 4 at ¶ 9;
  9               October 16, 2009: Plaintiffs Perrey and Kingsley respond to the
10         Defendants’ First Set of Requests for Admissions, and admit that they do not
11         own the legal interests in the copyrights at issue. Ruga Decl., Ex. 5 at Request
12         No. 11 & Ex. 6 at Request No. 10;
13                October 22, 2009: The Breuer plaintiffs respond to the Defendants’ First
14         Set of Requests for Admissions, and admit that they do not own the legal
15         interests in the copyrights at issue. Ruga Decl., Ex. 7 at Request No. 4;
16                October 22, 2009: Plaintiffs Perrey and Kingsley respond to the
17         Defendants’ Second Set of Requests for Admissions, and admit that they signed
18         the Exhibit A attached to the Agreements. Ruga Decl., Exs. 8 at Request No.
19         21 & Ex. 9 at Request No. 18;
20                November 3, 2009: Plaintiffs Perrey and Kingsley respond to the
21         Defendants’ Third Set of Requests for Admissions, and again admit that they
22         signed the Exhibit A to the Agreements. Ruga Decl., Exs. 10 at Request No. 29
23         & Ex. 11 at Request No. 22;
24                November 17, 2009: Plaintiffs’ counsel contacts Universal Polygram to
25         “revoke” and “rescind” the letter Perrey signed in 2006 confirming the transfer
26         of copyrights from him to Vanguard’s publishing affiliate, thereby creating a
27         direct conflict between Plaintiffs and Universal Polygram concerning legal
28         ownership of the copyrights. Ruga Decl., Ex. 7 at ¶ 10;
                                                 5
                                                  DEFENDANTS’ NOTICE OF MOTION AND
                                       MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                             Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 12 of 18 Page ID #:1988

  1               December 17, 2009: Plaintiffs file their First Amended Complaint and
  2          assert that they are “either the beneficial owners or the legal owners of the
  3          copyrights at issue herein.” [Docket No. 55 at ¶ 25.]
  4               February 10, 2010: Plaintiffs file a motion to amend their responses to
  5          the Requests for Admission in order to revoke their admission that they did not
  6          own any portion of the legal interests in the copyrights at issue in this case.
  7          [Docket Nos. 81 – 91].
  8               March 11, 2010: Magistrate Judge Zarefsky issued an order granting
  9          Plaintiffs leave to amend their Requests for Admission in order to allow
10           Plaintiffs to assert that they own the legal interests in the composition
11           copyrights. [Id. at 92].
12           Thus, Plaintiffs now claim that they are both the legal and/or beneficial owners
13    of the copyrights here, which is contrary to the parties’ behavior for the past 40 years
14    and Universal Polygram’s position that it is the legal owner of the copyrights.
15    III.   ANALYSIS
16           Defendants request that the Court either dismiss this case for failure to join an
17    indispensible party, or order that Universal Polygram must be joined in this action.
18           A complaint may be dismissed under Federal Rule of Civil Procedure 12(b)(7)
19    for failure to join “persons whose presence is needed for a just adjudication” under
20    FRCP 19. Schwarzer, Tashima, and Wagstaff, Cal. Prac. Guide: Fed. Civ. Pro. Before
21    Trial, ¶ 9:158 (Rutter Group 2010); HS Resources, Inc. v. Wingate, 327 F.3d 432, 438
22    (5th Cir. 2003); see also 17 U.S.C. § 501(b) (“The court may require the joinder . . . of
23    any person having or claiming an interest in the copyright.”).2
24    2
        Defendants anticipate that Plaintiffs will argue that Defendants cannot bring a Rule
25    12(b)(7) Motion because Defendants previously filed a motion to dismiss pursuant to
26    Rule 12(b)(1) and 12(b)(6) that did not raise the joinder issue. That position is
      incorrect. Fed. R. Civ. P. 12(h)(1) (only defenses listed in Rule 12(b)(2) – (5) – and
27    not Rule 12(b)(7) – can be waived by failure to raise them in a motion to dismiss or
28    responsive pleading); Huey v. Super Fresh/Save-A-Center, Inc., 2009 WL 722738, *1,
                                                                                      (Footnote continued)
                                                   6
                                                   DEFENDANTS’ NOTICE OF MOTION AND
                                        MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                               Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 13 of 18 Page ID #:1989

  1         If the Court determines that the absent party is subject to service of summons,
  2   or its joinder would not deprive the Court of subject matter jurisdiction, then the
  3   motion “will be treated as a motion to compel joinder of the absent party . . . .” Id. at
  4   ¶ 9:161 (citing Cunningham v. Municipality of Metro. Seattle, 751 F. Supp. 885, 896-
  5   97 (W.D. Wa. 1990)); id. at ¶ 9:162 (“A preanswer Rule 12(b)(7) motion may be used
  6   either to compel joinder of a ‘necessary’ party or to obtain dismissal for failure to join
  7   an ‘indispensable’ party.”). In that case, the party “must be joined” if:
  8         “(A) in that person’s absence, the court cannot accord complete relief
  9         among existing parties; or
10          (B) that person claims an interest relating to the subject of the action
11          and is so situated that disposing of the action in the person's absence
12          may:
13
14
15    n.11 (E.D. La. March 17, 2009) (“Plaintiffs argue that, pursuant to Rule 12(h) of the
16    Federal Rules of Civil Procedure, the Grocers waived their right to assert a Rule 19(a)
      motion by waiting until the eve of trial. However, Rule 12(h) only provides that a
17    party waives any defense listed in Rule 12(b)(2)-(5). Fed.R.Civ.P. 12(h)(1). It does
18    not refer to the Rule 12(b)(7) defense of failure to join a party under Rule 19. Id.
      Moreover, Rule 12(h)(2) provides that the defense of failure to join a party may be
19    raised at trial. Fed.R.Civ.P. 12(h)(2).”). Even where a party previously filed a Rule 12
20    motion to dismiss, a successive Rule 12 motion may be filed. See T.B. v. Chico
      Unified School Dist., No. 2:07-CV-926-GEB-CMK, 2008 WL 5382060, *1 (E.D. Cal.
21    Dec. 22, 2008) (“‘Where a successive Rule 12[ ] motion is not brought in bad faith or
22    for dilatory purposes, and resolution of the motion would expedite the case, a court
      may exercise its discretion and relax the commands of Rule 12(g) in order to resolve
23    the successive motion.’”) (citing Ass’n of Irritated Residents v. C & R Vanderham
24    Dairy, No. CIV F 05-1593, 2006 WL 2644896, *7 (E.D. Cal. Sept. 14, 2006)).
      Moreover, FRCP 12(g)(2)’s limit on successive Rule 12 motions only applies where
25    the motion raises a defense or objection “that was available to the party but omitted
26    from its earlier motion.” Fed. R. Civ. P. 12(g)(2). As discussed herein, at the time
      Defendants filed their initial Rule 12 motion, they had verified admissions signed by
27    Plaintiffs that conclusively established Plaintiffs were not the legal owners. This
28    changed when Plaintiffs were granted relief to amend their admissions.
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                                                  DEFENDANTS’ NOTICE OF MOTION AND
                                       MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                              Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 14 of 18 Page ID #:1990

  1         (i) as a practical matter impair or impede the person's ability to protect
  2         the interest; or
  3         (ii) leave an existing party subject to a substantial risk of incurring
  4         double, multiple, or otherwise inconsistent obligations because of the
  5         interest.”
  6   Fed. R. Civ. P. 19. On the other hand, if joinder of the party is not possible (i.e.,
  7   where subject matter jurisdiction would not exist, or the party to be joined is not
  8   subject to service of summons), and the party is, in fact, “indispensable,” then the
  9   motion to dismiss should be granted. Cal. Prac. Guide: Fed. Civ. Pro. Before Trial at
10    ¶ 9:159 (citing Shermoen v. U.S., 982 F.2d 1312, 1317 (9th Cir. 1992); Thomas v.
11    U.S., 189 F.3d 662, 667 (7th Cir. 1999)).
12          A.     Universal Polygram Claims Legal Ownership of the Copyrights at
13                 Issue, and Disposing of This Action in Universal Polygram’s Absence
14                 May Subject Both Defendants and Plaintiffs to Double, Multiple, or
15                 Otherwise Inconsistent Liabilities.
16          Universal Polygram should be joined to avoid duplicative lawsuits and
17    potentially inconsistent judgments, as well as to preserve judicial resources. Indeed,
18    unless joinder is required, Defendants will be subject to another lawsuit from
19    Universal Polygram for copyright infringement arising out of the same compositions
20    in the same shows. The subsequent lawsuit easily could result in inconsistent
21    judgments and duplicative damages claims against Defendants. More specifically, if
22    this Court determines that Plaintiffs are the legal owners, but another Court
23    determines that Universal Polygram is the legal owner, the resulting conflicting
24    judgments would subject Defendants to duplicative damages claims. Even if the
25    judgments are consistent, it is a waste of judicial resources to decide two lawsuits
26    when all of the issues could (and should) be raised here.
27          Therefore, without Universal Polygram’s involvement here, Defendants will be
28    subject to duplicative lawsuits that could result in inconsistent judgments and
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                                                  DEFENDANTS’ NOTICE OF MOTION AND
                                       MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                               Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 15 of 18 Page ID #:1991

  1   duplicative damages awards. Defendants thus request that the Court join Universal
  2   Polygram to this action. Wales Industrial, 612 F. Supp. at 517 (requiring joinder of
  3   nonparty in a copyright infringement action in order to avoid duplicative lawsuits
  4   against the defendant).
  5         B.     Universal Polygram Claims Legal Ownership of the Copyrights at
  6                Issue; Disposing of This Action in Universal Polygram’s Absence
  7                Will Impair or Impede Universal Polygram’s Ability to Protect Its
  8                Interests.
  9         Until the filing of Plaintiffs’ First Amended Complaint, everybody (including
10    Plaintiffs themselves) believed that Universal Polygram owned the legal interest in the
11    composition copyrights. Plaintiffs’ new position that, in fact, they own the legal
12    interests in the copyrights therefore necessarily effects Universal Polygram. Unless
13    joined as a party, Universal Polygram has no ability to protect its interests by asserting
14    various defenses and arguments as to why Plaintiffs are not the legal owners of the
15    compositions copyrights.
16          Indeed, unless joined as a party in this action, Universal Polygram may be
17    barred by collateral estoppel from asserting in a subsequent proceeding that it is the
18    legal owner of the copyrights at issue. Aguilar v. Los Angeles County, 751 F.2d 1089,
19    1092-94 (9th Cir. 1985) (finding that a party should have been joined under Rule 19
20    because it otherwise would have been collaterally estopped from raising certain
21    arguments in a subsequent proceeding).
22          Collateral estoppel will attach if: (1) an issue was decided in a prior
23    adjudication that is identical to the one presented in a subsequent litigation; (2) there
24    was a final judgment on the merits in the prior action; and (3) the party against whom
25    the doctrine is asserted is in privity with a party in the prior lawsuit. Aguilar, 751
26    F.2d at 1092; Levy v. Cohen, 19 Cal. 3d 165, 171 (1977).
27          Here, the first two elements of the collateral estoppel test easily are satisfied
28    because it is clear that the issue of legal ownership litigated here will be identical in
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                                                  DEFENDANTS’ NOTICE OF MOTION AND
                                       MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                               Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 16 of 18 Page ID #:1992

  1   any subsequent action initiated by Universal Polygram, and the parties should assume
  2   that the instant lawsuit will result in a final judgment on the merits.
  3         The third collateral estoppel element (privity) also is satisfied because
  4   Universal Polygram and its successors in interest have been the publisher of Plaintiffs’
  5   compositions for over 40 years. Plaintiffs have relied on Universal Polygram to
  6   license the compositions at issue, and Plaintiffs have accepted payment from
  7   Universal Polygram as the result of such licensing. Jones v. Craig, 212 F.2d 187,
  8   187-88 (2nd Cir. 1954) (finding privity between a writer and his publisher for
  9   purposes of res judicata); E.E.O.C. v. Peabody Western Coal Co., 400 F.3d 774, 780
10    (9th Cir. 2005) (concluding that a party was necessary to the action because, among
11    other things, it was a signatory to the lease at issue in the litigation and complete relief
12    therefore could not be had without joining the party); see also Clemmer v. Hartford
13    Ins. Co., 22 Cal. 3d 865, 875 (1978) (“Privity is a concept not readily susceptible of
14    uniform definition. Traditionally it has been held to refer to an interest in the subject
15    matter of litigation acquired after rendition of the judgment through or under one of
16    the parties, as by inheritance, succession or purchase. The concept has also been
17    expanded to refer to a mutual or successive relationship to the same rights of
18    property, or to such an identification in interest of one person with another as to
19    represent the same legal rights and, more recently, to a relationship between the
20    party to be estopped and the unsuccessful party in the prior litigation which is
21    ‘sufficiently close’ so as to justify application of the doctrine of collateral estoppel.”)
22    (emphasis added; internal citations omitted). It follows that Universal Polygram is in
23    privity with Plaintiffs and will be collaterally estopped from raising the legal
24    ownership argument in a subsequent lawsuit.
25          Even if Universal Polygram will not be collaterally estopped from raising the
26    issue of legal ownership in a subsequent proceeding, it still must be joined in the
27    instant action because it will be effected by the affirmative defenses asserted by
28    Defendants in this action. Defendants contend that any action for infringement
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                                                   DEFENDANTS’ NOTICE OF MOTION AND
                                        MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                                Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 17 of 18 Page ID #:1993

  1   brought by Universal Polygram will be barred by laches or the statute of limitations
  2   because Universal Polygram had actual knowledge of the alleged infringement more
  3   than three years before the parties signed a tolling agreement. Defendants further
  4   claim, because Plaintiffs are the beneficial owners and their rights are derivative of
  5   Universal Polygram’s, that Plaintiffs’ claims are barred by Universal Polygram’s
  6   inaction. 3 Nimmer on Copyright § 12.02[C] at 12-57 (with regard to “[w]ho
  7   constitutes the ‘beneficial’ owner of a copyright” under § 501(b), “[p]resumably,
  8   reference is intended to the general law of trusts.”); Restatement (Second) of Trusts §
  9   327 (“[I]f the trustee is barred by the Statute of Limitations or by laches from
10    maintaining an action against a third person with respect to the trust property, the
11    beneficiary is precluded from maintaining an action against the third person.”);
12    DeTarr v. Texaco, Inc., 267 Cal. App. 2d 872, 874 (1968) (“[W]hen the trustee is not
13    in collusion with the wrongdoer, the trustee’s delay also bars the beneficiaries.”).
14          Adjudication of these affirmative defenses will implicate Universal Polygram’s
15    rights. See Wales Industrial Inc. v. Hasbro Bradley, Inc., 612 F. Supp. 510, 517
16    (S.D.N.Y. 1985), disagreed with on other grounds by Hasbro Bradley, Inc. v. Sparkle
17    Toys, Inc., 780 F.2d 189 (2d Cir. 1985) (“As a nonparty, of course, Takara would not
18    be bound by a judgment of this Court declaring such copyrights invalid; nevertheless,
19    such a judgment may, as a practical matter, impair or impede Takara’s ability to
20    protect its interest in the subject matter of the action.”). Accordingly, Universal
21    Polygram should be brought into the action.
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                                                  DEFENDANTS’ NOTICE OF MOTION AND
                                       MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                              Doc. # CC-225156 v.1
Case 2:09-cv-06508-JHN-RZ Document 95 Filed 04/19/10 Page 18 of 18 Page ID #:1994

  1   IV.   CONCLUSION
  2         Plaintiffs have refused to join Universal Polygram to this action, despite the
  3   clear need for their involvement in this case. Plaintiffs not only seek to deprive
  4   Universal Polygram of its claim to legal ownership of copyrights, but also,
  5   Defendants’ affirmative defenses require an adjudication of Universal Polygram’s
  6   rights. Moreover, without Universal Polygram’s involvement, Defendants are subject
  7   to duplicative lawsuits that could result in inconsistent judgments and duplicative
  8   damages awards. For each of these reasons, Defendants respectfully request that the
  9   Court dismiss Plaintiffs’ First Amended Complaint or, in the alternative, order that
10    Universal Polygram must be joined to this action.
11
12
      Dated: April 19, 2010                      STEPTOE & JOHNSON LLP
13
                                                 By: /s/ Dylan Ruga
14
                                                     Dylan Ruga
15                                                   Attorneys for Defendants
16                                                   Univision Communications Inc.
                                                     and Galavision Inc.
17
18
      Dated: April 19, 2010                      SIDLEY AUSTIN LLP
19
20                                               By: /s/ Carly S. Steinbaum
                                                     Carly S. Steinbaum
21                                                   Attorneys for Defendants
22                                                   Xenon Pictures, Inc.
                                                     and LionsGate Entertainment, Inc.
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                                                 DEFENDANTS’ NOTICE OF MOTION AND
                                      MOTION TO DISMISS OR JOIN UNIVERSAL POLYGRAM

                                                                             Doc. # CC-225156 v.1
